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August 24, 2021

 The Honorable David T. Schultz
 United States District Court
 9E U.S. Courthouse
 300 South Fourth Street
 Minneapolis, MN 55415

Re:     Tracy Proctor v. Unum Life Insurance Company of America
        Court File No. 20-cv-2472 (JRT/DTS)
        Our File No. 18657-493

Dear Magistrate Judge Schultz,

I am writing in respect to your Order for Settlement Conference (Dkt. No. 12) scheduled
for September 8, 2021 at 9:00 a.m. Pursuant to section II of this Order, I request, on behalf
of my client’s representative, David Layden, that he be permitted to appear at the
settlement conference by telephone or Zoom video conference. Mr. Layden resides near
Worcester, MA and would devote close to a day traveling here and returning. Mr. Layden
is concerned about travel in light of increased COVID 19 concerns of late.

Additionally, Mr. Layden has participated in numerous remote settlement conferences and
his attendance via telephone or Zoom will not adversely impact prospects for settlement.
Plaintiff’s counsel has been advised of this request and does not oppose Mr. Layden
appearing remotely.

Thank you for your attention to this matter.

Sincerely,



/s/ Terrance J. Wagener
Terrance J. Wagener
Attorney

TJW:js




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